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   Lead Counsel for Lead Plaintiff
14
                               UNITED STATES DISTRICT COURT
15
                             NORTHERN DISTRICT OF CALIFORNIA
16
   HARIRAM SHANKAR, Individually and on ) Case No. 3:21-cv-06028-JD
17 Behalf of All Others Similarly Situated,  )
                                             ) STIPULATION AND [PROPOSED]
18                               Plaintiff,  ) SCHEDULING ORDER
                                             )
19         vs.                               )
                                             )
20 ZYMERGEN INC., et al.,                    )
                                             )
21                               Defendants. )
                                             )
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 1            WHEREAS, on August 4, 2021, plaintiff Hariram Shankar filed a securities class action

 2 complaint against defendants Zymergen Inc. (“Zymergen”), Josh Hoffman, Enakshi Singh, Steven

 3 Chu, Jay T. Flatley, Christine M. Gorjanc, Travis Murdoch, Matthew A. Ocko, Sandra E. Peterson,

 4 Zach Serber, Rohit Sharma, J.P. Morgan Securities LLC, Goldman Sachs & Co. LLC, Cowen and

 5 Company, LLC, BofA Securities, Inc., UBS Securities LLC, and Lazard Frères & Co. LLC

 6 (collectively, “Defendants”) (the “Complaint”) (ECF No. 1);

 7            WHEREAS, the Complaint asserts federal securities claims arising under the Securities

 8 Act of 1933, which is governed by the Private Securities Litigation Reform Act of 1995 (the

 9 “PSLRA”), 15 U.S.C. §77z-1, et seq.;

10            WHEREAS, on October 4, 2021, pursuant to the PSLRA, Biao Wang (“Wang”) and five

11 other Zymergen investors filed motions seeking appointment as lead plaintiff in this action (ECF

12 Nos. 23-54);

13            WHEREAS, on December 20, 2021, the Court issued an Order Re Lead Plaintiff and Lead

14 Counsel, appointing Wang as Lead Plaintiff, approving his selection of Robbins Geller Rudman

15 & Dowd LLP as Lead Counsel, and directing the parties to file a proposed schedule for the filing

16 of an amended complaint or designation of the original Complaint as operative, and Defendants’

17 response thereto (ECF No. 69);

18            NOW, THEREFORE, it is stipulated and agreed among the undersigned parties, and
19 respectfully submitted for the Court’s approval, as follows:

20            1.         Lead Plaintiff shall file an amended complaint by February 24, 2022;

21            2.         Defendants shall file any motions to dismiss by April 25, 2022;

22            3.         Lead Plaintiff shall file his opposition briefing to any motions to dismiss by June

23 24, 2022;

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 1            4.         Defendants shall file reply briefing on any motions to dismiss by July 25, 2022;

 2            IT IS SO STIPULATED.

 3    DATED: January 4, 2022                            ROBBINS GELLER RUDMAN
                                                         & DOWD LLP
 4                                                      SHAWN A. WILLIAMS
                                                        DANIEL J. PFEFFERBAUM
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 6
                                                                    s/ Daniel J. Pfefferbaum
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                                                        Lead Counsel for Lead Plaintiff
20

21    DATED: January 4, 2022                            WILMER CUTLER PICKERING
                                                         & HALE AND DORR LLP
22                                                      SUSAN S. MUCK
                                                        KEVIN P. MUCK
23

24                                                                      s/ Kevin P. Muck
25                                                                      KEVIN P. MUCK

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     STIPULATION AND [PROPOSED] SCHEDULING ORDER - 3:21-cv-06028-JD                                         -2-
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                                             Flatley, Christine M. Gorjanc, Travis Murdoch,
11                                           Matthew A. Ocko, Sandra E. Peterson, Zach
                                             Serber, and Rohit Sharma
12
      DATED: January 4, 2022                 MORGAN, LEWIS & BOCKIUS LLP
13                                           CHARLENE S. SHIMADA
                                             KEVIN M. PAPAY
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21                                           Company, LLC, BofA Securities, Inc., UBS
                                             Securities LLC, and Lazard Frères & Co. LLC
22
                                        *     *      *
23
                                            ORDER
24
              PURSUANT TO STIPULATION, IT IS SO ORDERED.
25
             January 7, 2022
     DATED: _________________________       ____________________________________
26                                          THE HONORABLE JAMES DONATO
                                            UNITED STATES DISTRICT JUDGE
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     STIPULATION AND [PROPOSED] SCHEDULING ORDER - 3:21-cv-06028-JD                            -3-
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